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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION
                                        Case No.

 DORA MARTINEZ, and other similarly                 )
 situated individuals,                              )
                                                    )
                  Plaintiff(s),                     )
                                                    )
 v.                                                 )
                                                    )
 1236 OCEAN DRIVE LLC d/b/a Hotel                   )
 Ocean, Inc.; IL GIARDINO, LLC; and                 )
 IMAN DUZ,                                          )
                                                    )
                  Defendants.                       )
                                                    )

                                      COMPLAINT
                          (OPT-IN PURSUANT TO 29 U.S.C § 216(B))

        Plaintiffs DORA MARTINEZ (“Plaintiff”) and other similarly situated individuals sue

 defendants 1236 OCEAN DRIVE LLC d/b/a Hotel Ocean, Inc., IL GIARDINO, LLC and IMAN

 DUZ (collectively, “Defendants”) and allege:

                                        JURISDICTION

        1.      This is an action to recover money damages for unpaid overtime wages under the

 laws of the United States. This Court has jurisdiction pursuant to the Fair Labor Standards Act,

 29 U.S.C. § 201-219 (Section 216 for jurisdictional placement) (“the Act”).

                                  VENUE & BACKGROUND

        2.      Plaintiff is a resident of Miami-Dade County, Florida, within the jurisdiction of

 this Honorable Court. Plaintiff is a covered employee for purposes of the Act.

        3.      1236 OCEAN DRIVE LLC d/b/a Hotel Ocean, Inc., IL GIARDINO, LLC

 (collectively, the “Corporate Defendants”) and IMAN DUZ (the “Individual Defendant”), are
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 companies and a Florida resident, respectively, having their main place of business in Miami-

 Dade County, Florida, where Plaintiff worked for Defendants, and at all times material hereto

 were and are engaged in interstate commerce. The Individual Defendant, upon information and

 belief, resides in Miami-Dade, Florida.

         4.       Corporate Defendants are entities engaged in related activities, which perform

 through a unified operation, with a common management, with a common business purpose,

 under the common control and administration of the same individual(s).

         5.       Corporate Defendants share common management, employees, centralized

 control of labor relations, and common offices and interrelated operations. Corporate Defendants

 are an integrated enterprise. Alternatively, each company is a covered enterprise under the Act.

         6.       Corporate Defendants share employees or interchange employees; work in the

 direct interest of one another; and their employees are in the common control of both companies.

 Corporate Defendants are joint employers. Alternatively, each company is a covered enterprise

 under the Act.

     COUNT I: WAGE AND HOUR VIOLATION BY THE CORPORATE DEFENDANTS

         7.       Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-6

 above as if set out in full herein.

         8.       This action is brought by Plaintiff and those similarly situated to recover from the

 Corporate Defendants unpaid overtime compensation, as well as an additional amount as

 liquidated damages, costs, and reasonable attorneys’ fees under the provisions of 29 U.S.C. §

 201 et seq., and specifically under the provisions of 29 U.S.C. § 207. 29 U.S.C. § 207 (a)(1)

 states, “No employer shall employ any of his employees . . . for a work week longer than 40

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 hours unless such employee receives compensation for his employment in excess of the hours

 above-specified at a rate not less than one and a half times the regular rate at which he is

 employed.”

        9.       Jurisdiction is conferred on this Court by Title 28 U.S.C. § 1337 and by Title 29

 U.S.C. § 216(b). The Corporate Defendants are and, at all times pertinent to this Complaint, were

 engaged in interstate commerce. At all times pertinent to this Complaint, the Corporate

 Defendants operate as an organization which sells and/or markets their services and/or goods to

 customers from throughout the United States and also provides their services for goods sold and

 transported from across state lines of other states, and the Corporate Defendants obtain and

 solicit funds from non-Florida sources, accept funds from non-Florida sources, use telephonic

 transmissions going over state lines to do their business, transmit funds outside the State of

 Florida, and otherwise regularly engage in interstate commerce, particularly with respect to their

 employees. Upon information and belief, the annual gross revenue of the Corporate Defendants

 was at all times material hereto in excess of $500,000 per annum, and/or Plaintiff and those

 similarly situated, by virtue of working in interstate commerce, otherwise satisfy the Act’s

 requirements.

        10.      By reason of the foregoing, the Corporate Defendants are and were, during all

 times hereafter mentioned, an enterprise engaged in commerce or in the production of goods for

 commerce as defined in §§ 3 (r) and 3(s) of the Act, 29 U.S.C. § 203(r) and 203(s) and/or

 Plaintiff and those similarly situated were and/or are engaged in interstate commerce for the

 Corporate Defendants. The Corporate Defendants’ business activities involve those to which the

 Act applies. The Corporate Defendants are a Hotel and Restaurant and, through their business

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 activity, affect interstate commerce. The Plaintiff’s work for the Corporate Defendants likewise

 affects interstate commerce. Plaintiff was employed by the Corporate Defendants as a Cook for

 the Corporate Defendants’ business.

        11.        While employed by the Corporate Defendants, Plaintiff worked approximately an

 average of 60 hours per week without being compensated at the rate of not less than one and one-

 half times the regular rate at which she was employed. Plaintiff was employed as a Cook

 performing the same or similar duties as that of those other similarly situated cooks whom

 Plaintiff observed working in excess of 40 hours per week without overtime compensation.

        12.        Plaintiff worked for the Corporate Defendants from approximately 7/1/2017 to

 7/16/2018. In total, Plaintiff worked approximately 54 compensable weeks under the Act, or 54

 compensable weeks if we count 3 years back from the filing of the instant action.

        13.        The Corporate Defendants paid Plaintiff on average approximately $14 per hour.

        14.        However, the Corporate Defendants did not properly compensate Plaintiff for

 hours that Plaintiff worked in excess of 40 per week.

        15.        Plaintiff seeks to recover unpaid overtime wages accumulated from the date of

 hire and/or from 3 (three) years back from the date of the filing of this Complaint.

        16.        Prior to the completion of discovery and to the best of Plaintiff’s knowledge, at

 the time of the filing of this Complaint, Plaintiff’s good faith estimate of unpaid overtime wages

 is as follows:

        a. Actual Damages: $7,600

              i.      Calculation: $14 (hourly pay) x .5 (overtime rate) x 20 (approximate number

                      of overtime hours) x 54 (compensable weeks) = $7,600

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        b. Liquidated Damages: $7,600


        c. Total Damages: $15,200 plus reasonable attorneys’ fees and costs of suit.

        17.     At all times material hereto, the Corporate Defendants failed to comply with Title

 29 U.S.C. §§ 201-219 and 29 C.F.R. § 516.2 and § 516.4 et seq. in that Plaintiff and those

 similarly situated performed services and worked in excess of the maximum hours provided by

 the Act but no provision was made by the Corporate Defendants to properly pay them at the rate

 of time and one half for all hours worked in excess of forty hours (40) per workweek as provided

 in the Act. The additional persons who may become Plaintiffs in this action are weekly-paid

 employees and/or former employees of the Corporate Defendants who are and who were subject

 to the unlawful payroll practices and procedures of the Corporate Defendants and were not paid

 time and one half of their regular rate of pay for all overtime hours worked in excess of forty.

        18.     The Corporate Defendants knew and/or showed reckless disregard of the

 provisions of the Act concerning the payment of overtime wages and remains owing Plaintiff and

 those similarly situated these overtime wages since the commencement of Plaintiff’s and those

 similarly situated employees’ employment with the Corporate Defendants as set forth above, and

 Plaintiff and those similarly situated are entitled to recover double damages. The Corporate

 Defendants never posted any notice, as required by Federal Law, to inform employees of their

 federal rights to overtime and minimum wage payments.

        19.     The Corporate Defendants willfully and intentionally refused to pay Plaintiff

 overtime wages as required by the laws of the United States as set forth above and remains

 owing Plaintiff these overtime wages since the commencement of Plaintiff’s employment with

 the Corporate Defendants as set forth above.
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          20.      Plaintiff has retained the law offices of the undersigned attorney to represent her

 in this action and is obligated to pay a reasonable attorney’s fee.

                                            PRAYER FOR RELIEF

          WHEREFORE, Plaintiff and those similarly situated request that this Honorable Court:

          A. Enter judgment for Plaintiff and others similarly situated and against the Corporate

                Defendants on the basis of the Corporate Defendants’ willful violations of the Fair

                Labor Standards Act, 29 U.S.C. § 201 et seq. and other Federal Regulations; and

          B. Award Plaintiff actual damages in the amount shown to be due for unpaid wages and

                overtime compensation for hours worked in excess of forty weekly; and

          C. Award Plaintiff an equal amount in double damages/liquidated damages; and

          D. Award Plaintiff reasonable attorney’s fees and costs of suit; and

          E. Grant such other and further relief as this Court deems equitable and just.

                                                 JURY DEMAND

          Plaintiff and those similarly situated demand trial by jury of all issues so triable as of

 right.

                           COUNT II: WAGE AND HOUR VIOLATION BY
                                    IMAN DUZ (OVERTIME)

          21.      Plaintiff re-adopts each and every factual allegation as stated in paragraphs 1-20

 above as if set out in full herein.

          22.      At the times mentioned, the Individual Defendant was, and is now, the Owner

 and/or Officer of IL GIARDINO, LLC. The Individual Defendant was an employer of Plaintiff

 and others similarly situated within the meaning of Section 3(d) of the Act [29 U.S.C. § 203(d)],

 in that this defendant acted directly or indirectly in the interests of the Corporate Defendants in
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 relation to the employees of the Corporate Defendants, including Plaintiff and others similarly

 situated. The Individual Defendant had operational control of the Corporate Defendants, was

 involved in the day-to-day functions of the Corporate Defendants, provided Plaintiff with her

 work schedule, and is jointly liable for Plaintiff’s damages.

        23.      The Individual Defendant is and was at all times relevant a person in control of

 the Corporate Defendants’ financial affairs and can cause the Corporate Defendants to

 compensate (or not to compensate) their employees in accordance with the Act.

        24.      The Individual Defendant willfully and intentionally caused Plaintiff not to

 receive overtime compensation as required by the laws of the United States as set forth above

 and remains owing Plaintiff these overtime wages since the commencement of Plaintiff’s

 employment with the Corporate Defendants as set forth above.

        25.      Plaintiff has retained the law offices of the undersigned attorney to represent her

 in this action and is obligated to pay a reasonable attorney’s fee.

                                          PRAYER FOR RELIEF

        WHEREFORE, Plaintiff and those similarly situated request that this Honorable Court:

        A. Enter judgment for Plaintiff and others similarly situated and against the Individual

              Defendant on the basis of the Defendants’ willful violations of the Fair Labor

              Standards Act, 29 U.S.C. § 201 et seq. and other Federal Regulations; and

        B. Award Plaintiff actual damages in the amount shown to be due for unpaid wages and

              overtime compensation for hours worked in excess of forty weekly; and

        C. Award Plaintiff an equal amount in double damages/liquidated damages; and

        D. Award Plaintiff reasonable attorney’s fees and costs of suit; and

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          E. Grant such other and further relief as this Court deems equitable and just.

                                                JURY DEMAND

          Plaintiff and those similarly situated demand trial by jury of all issues so triable as of

 right.

 Dated: 9/06/2018.

                                                           Respectfully submitted,

                                                           By:__/s/ R. Martin Saenz
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